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United States Court of Appeals

FIFTH CIRCUIT
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LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115

NEW ORLEANS, LA 70130
United States Courts
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MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW: FHED
ApH125,2019

Aprii 25, 2019

NO. 18-20823 USA v. Jason Gandy

USDC NO` 4:12_CR_503_1 DawdiBmdw%deuFCoun

The court has granted an extension cf time to and including May l,
2019 for filing appellant's/petitioner's brief in this case.

Sincerely,

LYLE W. CAYCE, Clerk

<_%@

By.
Casey A. Sullivan, Deputy Clerk
504-310»7642

 

Mr. David J. Bradley
Mr. Seth Kretzer
Ms. Carmen Castillo Mitchell

